Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 1 of 13 PageID 191



                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

E. VALERIE SMITH,

            Plaintiff,

v.                                   Case No: 2:14-cv-50-FtM-29DNF

FLORIDA        GULF         COAST
UNIVERSITY        BOARD        OF
TRUSTEES,

            Defendant.



                             OPINION AND ORDER

       This matter comes before the Court on review of defendant’s

Motion to Dismiss Complaint (Doc. #14) filed on March 31, 2014.

Plaintiff filed an Opposition to Defendant's Motion to Dismiss

Complaint (Doc. #17) on April 14, 2014.        For the reasons set forth

below, the motion is granted in part and denied in part.

                                     I.

       Under Federal Rule of Civil Procedure 8(a)(2), a Complaint

must contain a “short and plain statement of the claim showing

that the pleader is entitled to relief.”         Fed. R. Civ. P. 8(a)(2).

This obligation “requires more than labels and conclusions, and a

formulaic recitation of the elements of a cause of action will not

do.”     Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)

(citation omitted).       To survive dismissal, the factual allegations

must be “plausible” and “must be enough to raise a right to relief
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 2 of 13 PageID 192



above the speculative level.”                  Id. at 555.        See also Edwards v.

Prime Inc., 602 F.3d 1276, 1291 (11th Cir. 2010).                           This requires

“more    than      an        unadorned,       the-defendant-unlawfully-harmed-me

accusation.”           Ashcroft       v.     Iqbal,    556     U.S.    662,    678       (2009)

(citations omitted).

       In deciding a Rule 12(b)(6) motion to dismiss, the Court must

accept all factual allegations in a complaint as true and take

them in the light most favorable to plaintiff, Erickson v. Pardus,

551 U.S. 89 (2007), but “[l]egal conclusions without adequate

factual support are entitled to no assumption of truth,”                                 Mamani

v.   Berzain,     654        F.3d    1148,    1153     (11th    Cir.     2011)(citations

omitted).       “Threadbare recitals of the elements of a cause of

action, supported by mere conclusory statements, do not suffice.”

Iqbal, 556 U.S. at 678.                “Factual allegations that are merely

consistent      with     a    defendant’s       liability       fall    short       of    being

facially plausible.”            Chaparro v. Carnival Corp., 693 F.3d 1333,

1337    (11th    Cir.     2012)(internal           quotation     marks      and     citations

omitted).       Thus, the Court engages in a two-step approach: “When

there are well-pleaded factual allegations, a court should assume

their veracity and then determine whether they plausibly give rise

to an entitlement to relief.”                 Iqbal, 556 U.S. at 679.

                                              II.

       Accepting        all    the    factual         allegations      in     the    Amended

Complaint (Doc. #8) as true, plaintiff E. Valerie Smith (plaintiff



                                               2
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 3 of 13 PageID 193



or Smith) is an African-American female and founding faculty member

of Florida Gulf Coast University (FGCU), a state university.             At

the time of her hire as a professor in September 1996, plaintiff

had over 20 years of teaching experience, and is qualified to teach

Sociology.     Plaintiff is the only African-American female faculty

member, and one of only two African-American members of the College

of Arts and Sciences faculty at FGCU, which encompasses plaintiff’s

Department     of    Social   and    Behavioral   Sciences    (Department).

Plaintiff was on a Continuing Multi-Year Appointment (CMYA), which

is   a   three-year     employment     contract   with   automatic   renewal

contingent on performance.

      In and around 2005, Eric Strahorn, a Caucasian male, became

the Chair of plaintiff’s Department and her supervisor, although

lower-ranked and less senior at FGCU.         Prior to Strahorn becoming

the Department Chair, plaintiff consistently received excellent

evaluations.        After Strahorn became Department Chair, plaintiff

was treated differently.            Plaintiff’s upper-level courses were

cancelled in favor of less-senior faculty members teaching the

courses, evaluation criteria changed, and her courses were given

to Caucasian and/or foreign born faculty members.

      For the 2006-2007 academic year, plaintiff was issued a “Does

Not Meet Expectations” performance evaluation because she failed

to meet certain administrative criteria.           Plaintiff appealed the

evaluation to the then Provost and it was changed to reflect “Meets



                                        3
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 4 of 13 PageID 194



Expectations”. For the 2007-2008 academic year, on April 30, 2008,

Strahorn issued plaintiff another unsatisfactory evaluation based

on administrative criteria.       As a result, and pursuant to the FGCU

College of Arts and Sciences Performance Evaluation Criteria and

Process, plaintiff was placed on probation subject to a Performance

Improvement Contract for the 2008-2009 academic year, and denied

a raise.

      For the 2008-2009 academic year, FGCU moved plaintiff from

her office of 11 years to a trailer isolated from her colleagues

of equal rank.     Plaintiff was the only full professor working out

of a trailer.      In the Fall of 2008, plaintiff contacted FGCU’S

Ombudsman and the EEO liaison to object to the discrimination and

harassment.    In February 2009, plaintiff sent the Provost and Vice

President of Academic Affairs a memorandum complaining about the

unsatisfactory      evaluation     rating,    and    objecting     to   the

discrimination and harassment.       Plaintiff also complained verbally

and in writing to the President of FGCU.

      A new Department Chair, a Ghanaian male, recommended to the

Peer Review Committee that plaintiff’s probationary status be

removed and plaintiff be returned to a CMYA.           On April 20, 2009,

the Peer Review Committee sent a letter to the Dean of College of

Arts and Sciences recommending reinstatement.             Under the FGCU

collective bargaining agreement, the Dean must then submit a report

to the Provost and Vice President of Academic Affairs justifying



                                     4
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 5 of 13 PageID 195



the decision, or submit a dissenting report.              The final decision

rests with the Provost and Vice President of Academic Affairs.

       On May 6, 2009, the Dean provided plaintiff with a letter

denying     reinstatement,     claiming     that    her     performance     was

unsatisfactory, and indicating that her contract would not be

renewed.     At this time, the Dean did not submit a dissenting

report.     On May 22, 2009, the dissenting report was submitted to

the Provost and Vice President of Academic Affairs.             On August 7,

2009, plaintiff complained to FGCU’s EEO liaison.            On September 4,

2009, the Provost and Vice President of Academic Affairs sent

plaintiff a memorandum stating that her performance for the 2008-

2009 academic year was unsatisfactory, she would continue on

probation, and that her contract would not be renewed for the 2010-

2011 academic year.      Plaintiff’s employment would and did end as

of September 8, 2010.

       On or about June 30, 2010, plaintiff filed her Charge of

Discrimination with the United States Equal Employment Opportunity

Commission (EEOC), and received her right to sue letter on or about

October 31, 2013.     Plaintiff filed her Complaint against the FCGU

Board of Trustees (FCGU Board) on January 28, 2014.           In the Amended

Complaint    (Doc.   #8),    plaintiff    alleges   Title    VII   claims   of

disparate treatment based on her race (Count I), national origin

(Count II), and gender (Count III), as well as retaliation (Count

IV).



                                     5
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 6 of 13 PageID 196



                                        III.

      Defendant seeks to dismiss the Complaint in its entirety for

failure to state a claim because a timely charge of discrimination

was not filed with the EEOC.              If found timely, defendant seeks

dismissal of Count II because national origin discrimination was

not    included     in     or   encompassed       by   the     EEOC    charge    of

discrimination, and therefore plaintiff failed to exhaust the

claim.

      A. Timeliness of EEOC Charge of Discrimination

      Under Title VII of the Civil Rights Act of 1964, 42 U.S.C. §

2000e-1, et seq., a plaintiff must exhaust her administrative

remedies before filing suit for employment discrimination.                      See

Lewis v. City of Chicago, Ill., 560 U.S. 205, 210 (2010) (“Before

beginning a Title VII suit, a plaintiff must first file a timely

EEOC charge.”). In a deferral state such as Florida, this requires

the filing of a charge of discrimination with the EEOC within three

hundred   days     after   “the      alleged    unlawful   employment     practice

occurred”.    42 U.S.C. § 2000e-5(e)(1); EEOC v. Joe’s Stone Crabs,

Inc., 296 F.3d 1265, 1271 (2002).              Thus, plaintiff had to file her

charge of discrimination within 300 days of “the date of the

[discriminatory] act or lose the ability to recover for it.”

AMTRAK v. Morgan, 536 U.S. 101, 110 (2002).                “Determining whether

a   plaintiff's     charge      is    timely    thus   requires      identify[ing]

precisely    the    ‘unlawful        employment    practice’    of    which   [s]he



                                          6
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 7 of 13 PageID 197



complains.” Delaware State College v. Ricks, 449 U.S. 250, 257

(1980)(internal quotation marks omitted).

      Unlawful     employment     practices         include       discharging      an

individual or discriminating against an individual “with respect

to   his   compensation,     terms,        conditions,       or    privileges     of

employment, because of such individual's race, color, religion,

sex, or national origin.” 42 U.S.C.A. § 2000e-2(a)(1). A discrete

discriminatory act is not actionable if time barred, but each

“discrete discriminatory act starts a new clock” for filing charges

within the 300 day time period.            Morgan, 536 U.S. 101 at 113.             A

one-time    discriminatory      act   will    not    extend       the   limitations

period,    Joe’s   Stone   Crabs,     Inc.,   296     F.3d    at    1271,   but    an

identified discriminatory act occurring within the limitations

period that is a continuing violation of, or that occurs at the

time of actual termination from employment, may extend the time

period to start the clock to file a charge of discrimination,

Delaware State Coll. v. Ricks, 449 U.S. 250, 257 (1980).                      “Mere

continuity of employment, without more, is insufficient to prolong

the life of a cause of action for employment discrimination.”                     Id.

at 257 (citing United Air Lines, Inc. v. Evans, 431 U.S. 553, 558

(1977)). The limitations period is not a jurisdiction prerequisite

to filing and therefore courts may apply tolling or estoppel

principles, albeit sparingly.          Morgan, 536 U.S. at 113.             “[T]he

pendency of a grievance, or some other method of collateral review



                                       7
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 8 of 13 PageID 198



of an employment decision, does not toll the running of the

limitations periods.” Ricks, 449 U.S. at 261 (citing Elec. Workers

v. Robbins & Myers, Inc., 429 U.S. 229 (1976)).

      The Amended Complaint identifies three allegedly unlawful

employment practices of which plaintiff complains.               In the first

three claims (Counts I through III), plaintiff asserts that she

suffered an adverse action when: (1) she was issued a negative

performance rating resulting in the denial of a raise; (2) she was

placed on probation and a performance improvement contract; and

(3) her CMYA was not renewed, resulting in the termination of her

employment.      (Doc.    #8,   ¶¶   60a-c;   73a-c,   85a-c.)      The   only

specifically identified adverse action in the fourth claim (Count

IV) relates to the non-renewal of her CMYA resulting in termination

of her employment.       (Id., ¶ 96.)

      Plaintiff filed her charge of discrimination on June 30, 2010,

therefore discriminatory acts prior to September 3, 2009, would be

outside the scope of this action.           The three claims based upon a

negative performance rating resulting in a denial of a raise and

being placed on probation and a performance improvement contract

are all time barred.       The discriminatory acts are alleged to have

taken place on or about April 30, 2008, and plaintiff did not file

an EEOC charge until June 30, 2010.           Since this is far beyond the

300 day time period, plaintiff may not proceed on this portion of




                                        8
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 9 of 13 PageID 199



her claims.     The motion to dismiss this portion of the three claim

is granted.

        The three claims based upon the termination of her employment

require a little more discussion.              Defendant argues that May 6,

2009 -- the date that the Dean provided written notice of non-

renewal to plaintiff -- is the triggering date, and plaintiff’s

charge of discrimination was not filed within 300 days of this

date.     (Doc. #14, p. 9.)   Plaintiff argues that the discriminatory

act did not occur until September 4, 2009, the date the final

notice of non-renewal was issued by the Provost and Vice President,

and this was within the 300 day period.

      The    Amended   Complaint      states    that   under   the   collective

bargaining agreement, the final decision was to be made by the

Provost and Vice President.           The Provost and Vice President did

not send plaintiff a memorandum indicating that she would not be

renewed until September 4, 2009.             (Doc. #8, ¶¶ 33-43.)         At this

stage of the proceedings and taking these allegations as true, the

Court finds that the limitation period did not commence until

September 4, 2009; the decision by the Dean for non-renewal was

not   a   final    decision   under    the     allegations     of   the   Amended

Complaint.        The motion to dismiss will be denied as to the

termination of employment.




                                        9
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 10 of 13 PageID 200



       B. National Origin Claim

       Count   II,    alleging   national     origin   discrimination,     is   a

 “reverse discrimination” claim in which a member of the majority

 group (U.S. born persons) claims her employment was terminated

 because she was U.S. born.        Defendant argues that this count must

 be dismissed because the amended EEOC charge of discrimination 1

 reveals no reference to national origin.              Plaintiff admits that

 the national origin box was not checked, but argues that the claim

 grows out of the same allegations and therefore the EEOC charge is

 sufficient to support the count.            In support, plaintiff attached

 her intake questionnaire, which references preferential treatment

 provided to a French born professor.              (Doc. #17, p. 10.)       The

 intake questionnaire is not central to or referenced in the Amended

 Complaint, and the Court is not inclined to convert the motion to

 dismiss to a motion for summary judgment.          La Grasta v. First Union

 Sec., Inc., 358 F.3d 840, 845 (11th Cir. 2004).              Therefore, the

 document will not be considered.

       Title VII of the Civil Rights Act of 1964 makes it unlawful

 to   discharge      an   individual,   or   to   discriminate   against    the

 individual, “with respect to his compensation, terms, conditions,


       1Defendant accepts that plaintiff filed a charge on June 30,
 2010, however only a July 8, 2010 Amended Charge was ever provided
 to defendant, and is therefore the document relief upon in the
 Motion to Dismiss. (Doc. #14, n.4.) Neither charge was attached
 or filed with the Amended Complaint.



                                        10
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 11 of 13 PageID 201



 or privileges of employment” based on the individual’s national

 origin.    42 U.S.C. § 2000e-2(a)(1).              See also Alvarez v. Royal

 Atl. Developers, Inc., 610 F.3d 1253, 1264 (11th Cir. 2010).                         “The

 term ‘national origin’ on its face refers to the country where a

 person was born, or, more broadly, the country from which his or

 her ancestors came.”      Espinoza v. Farah Mfg. Co., 414 U.S. 86, 88

 (1973).    “Thus, national origin discrimination as defined in Title

 VII encompasses discrimination based on one’s ancestry, but not

 discrimination    based    on    citizenship           or    immigration       status.”

 Cortezano v. Salin Bank & Trust Co., 680 F.3d 936, 940 (7th Cir.

 2012).     Post-Espinoza,       it   is    “an     unfair        immigration-related

 employment practice” to discriminate against an individual if they

 are a “protected individual” such as a citizen or national of the

 United States.    8 U.S.C. § 1324b(a)(3)(A)(1996).

       “A Title VII action, however, may be based ‘not only upon the

 specific complaints made by the employee’s initial EEOC charge,

 but also upon any kind of discrimination like or related to the

 charge’s   allegations,    limited        only    by    the      scope    of   the   EEOC

 investigation that could reasonably be expected to grow out of the

 initial charges of discrimination.”              Chanda v. Engelhard/ICC, 234

 F.3d 1219, 1225 (11th Cir. 2000) (citations omitted).

       Setting   aside    the    allegations        contained         in    the   intake

 questionnaire,     and    having     no        charge       of   discrimination       to

 contradict the Amended Complaint or provide additional guidance,



                                           11
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 12 of 13 PageID 202



 the factual allegations in the Amended Complaint are sufficient at

 this stage of the proceedings.           As relevant here, the Amended

 Complaint alleges that plaintiff met all conditions precedent and

 exhausted all administrative remedies.        Plaintiff further alleges

 that she filed a timely charge and that her “national origin

 discrimination claim is encompassed” in the charge and is “like or

 related to the allegations contained in said charge and/or grew

 out of such allegations during the pendency of the case before the

 EEOC.”   (Doc. #8, ¶¶ 67-68.)       Plaintiff alleges that upper level

 courses taught by her were given to “foreign born and/or male

 faculty” members; that she was treated less favorably than “other

 similarly   situated    Caucasian   and/or   foreign   born   and/or   male

 faculty members”; and that she is a United States citizen and

 therefore a member of a protected class.         (Id., ¶¶ 19d, 45, 71.)

 The motion to dismiss will be denied as to the national origin

 claim.

       Accordingly, it is now

       ORDERED:

       Defendant’s Motion to Dismiss Complaint (Doc. #14) is GRANTED

 as to those portions of Counts I, II and III relating to the

 negative performance rating resulting in a denial of a raise and




                                     12
Case 2:14-cv-00050-JES-MRM Document 21 Filed 12/23/14 Page 13 of 13 PageID 203



 placement on probation and a performance improvement contract, and

 is otherwise DENIED.

       DONE AND ORDERED at Fort Myers, Florida, this         23rd    day of

 December, 2014.




 Copies:
 Counsel of record




                                     13
